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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                    MEMORANDUM

Honorable Kimberly J. Mueller                 RE: Qinghong Li
United States District Judge                      Docket Number: 0972 2:13CR00050-003
Sacramento, California                            PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Qinghong Li is requesting permission to travel to Guangdong, China. Qinghong Li has been
compliant with all conditions of supervision, and he has satisfied his financial obligations to the
Court. As such, the probation officer recommends approval be granted.


Conviction and Sentencing Date:       On October 28, 2015, Qinghong Li was convicted of the
offenses of 21 U.S.C. § 846 and 841(a)(1) - Conspiracy to Manufacture Marijuana, and
21 U.S.C. § 841(a)(1) -Manufacture of Marijuana.


Sentence Imposed: Twelve months and 1 day prison to each count, to be served concurrently,
followed by 36 months of supervised release for each count, to be served concurrently, and $200
special assessment


Dates and Mode of Travel: August 15, 2017, to September 5, 2017, by aircraft.


Purpose: To visit her mother Bao Qiong Li, located in Guangdong, China.




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                                                                                                  REV. 03/2017
                                                                   TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Qinghong Li
         Docket Number: 0972 2:13CR00050-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                          /s/ Lisa S. Hage

                                            Lisa S. Hage
                                   United States Probation Officer

Dated:     August 2, 2017
           Elk Grove, California



REVIEWED BY:                 /s/ Brenda Barron-Harrell
                           Brenda Barron-Harrell
                           Supervising United States Probation Officer



                                   ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved


DATED: August 3, 2017
                                           UNITED STATES DISTRICT JUDGE




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                                                                                                    REV. 03/2017
                                                                     TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
